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                                               UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA


                                                     Civil Cover Sheet
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the District of Arizona.

    The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                               Complaint or Notice of Removal.

                                                                                        Bennie Thompson , Chairman;
                 Michael Ward , Dr.; Kelli Ward , Dr.;                                  Select Committee to Investigate the
   Plaintiff(s):                                                          Defendant(s):
                 Mole Medical Services, P.C.                                            January 6th Attack on the United
                                                                                        States Capitol ; T-Mobile USA, Inc.
   County of Residence: Mohave                                           County of Residence: Outside the State of Arizona
   County Where Claim For Relief Arose: Mohave


   Plaintiff's Atty(s):                                                  Defendant's Atty(s):
   Alexander Kolodin (Michael Ward , Dr.; Kelli Ward ,
   Dr.; Mole Medical Services, P.C. )
   Davillier Law Group, LLC
   4105 North 20th Street
   Phoenix, Arizona 85016
   6027302985


   Roger Strassburg (Michael Ward , Dr.; Kelli Ward ,
   Dr.; Mole Medical Services, P.C. )
   Davillier Law Group, LLC
   4105 North 20th Street Suite 110
   Phoenix, Arizona 85016
   602 730 2985


   Veronica Lucero (Michael Ward , Dr.; Kelli Ward ,
   Dr.; Mole Medical Services, P.C. )
   Davillier Law Group, LLC
   4105 North 20th Street Suite 110
   Phoenix,, Arizona 85016
   602-730-2985


   Arno Naeckel (Michael Ward , Dr.; Kelli Ward , Dr.;
   Mole Medical Services, P.C. )
   Davillier Law Group, LLC
   4105 North 20th Street

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   Phoenix, Arizona 85016
   602-730-2985


   Laurin Mills (pro hac to be submitted) (Michael
   Ward , Dr.; Kelli Ward , Dr.; Mole Medical Services,
   P.C. )
   Samek, Werther, Mills, LLC
   2000 Duke Street Suite 300
   Alexandria, Virginia 22314
   703-547-4693



  II. Basis of Jurisdiction:                    2. U.S. Government Defendant

  III. Citizenship of Principal
  Parties (Diversity Cases Only)
                            Plaintiff:- 1 Citizen of This State
                          Defendant:- 6 Foreign State

  IV. Origin :                                  1. Original Proceeding

  V. Nature of Suit:                            440 Other Civil Rights

  VI.Cause of Action:                           The Subpoena is an Ultra vires Action by the Committee and Thus
                                                Invalid; Violation of the 1st Amendment to the United States
                                                Constitution; Violation of State and Federal Statutory Privilege
                                                Protections; Violations of the Rules of the House of Representatives
  VII. Requested in Complaint
                      Class Action: No
                   Dollar Demand: Declaratory relief; Injunctive Relief; Damages Provable at Trial
                     Jury Demand: Yes

  VIII. This case is not related to another case.

  Signature: Alexander Kolodin

         Date: 2/22/2022

  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
  and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




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